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                           THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO


Scott Snyder and                :
Nathen Velez,                   :
                                :
On Behalf of Themselves and     :
All Others Similarly Situated   :
Plaintiffs,                     :
c/o Lipson O’Shea Legal Group   :
700 West St. Clair Avenue #110  :
Cleveland, Ohio 44113           :
                                :
v.                              :                         Civil Action No:
                                :
NORFOLK SOUTHERN RAILWAY CO. :
c/o Statutory Agent             :
Corporation Service Company     :
3366 Riverside Drive, Suite 103 :
Upper Arlington, Ohio 43221     :
                                :
And                             :
                                :
NORFOLK SOUTHERN CORP.          :
650 w. Peachtree Street NW      :
Atlanta, GA 30308               :
                                :
Defendants.                     :

                                       COMPLAINT

       Plaintiffs Scott Snyder and Nathen & Nicole Velez (collectively “Representative

Plaintiffs”), on behalf of themselves and all others similarly situated, file this Class Action

Complaint against Defendants Norfolk Southern Railway Company and Norfolk Southern

Corporation. As used herein, Norfolk Southern refers to Defendants Norfolk Southern Railway

Company and Norfolk Southern Corporation. Plaintiffs by and through counsel allege as follows:




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                                  STATEMENT OF THE CASE

        1.     This is a class action on behalf of the Representative Plaintiffs and other persons

similarly situated for claims arising from a train derailment transporting toxic chemicals comprised

of contaminants and carcinogens that occurred on or about February 3, 2023 in East Palestine,

Ohio (the “Derailment”).

                                 VENUE AND JURISDICTION

        2.     The Court has Federal subject matter jurisdiction over this action pursuant to 28

U.S.C. §1332(a). The Defendants and the Plaintiff are citizens of different states and the amount

in controversy exceeds the sum or value of $75,000, exclusive of interest and cost.

        3.     This Court also has jurisdiction over this matter pursuant to 28 U.S.C. §1332(d)(2)

as this is a Class Action in which the amount in controversy exceeds the sum or value of

$5,000,000, exclusive of interest and costs, and the Representative Plaintiffs and Defendants have

complete diversity of citizenship.

        4.     Venue is proper pursuant to 28 U.S.C. §1391(b)(2) because a substantial part of the

events and omissions giving rise to the Representative Plaintiffs’ causes of action occurred in or

around East Palestine, Ohio.

        5.     This Court has personal jurisdiction over Norfolk Southern, who transacts business

in Ohio, caused tortious acts to occur in Ohio, and/or has the requisite contacts necessary to permit

this Court to exercise jurisdiction.

                                            PARTIES

        6.     Plaintiff Scott Snyder is a citizen and resident of East Palestine, Ohio with an

address of 441 N. Market Street East Palestine, OH 44413. Plaintiff Snyder lives within 1 mile of

the Train Derailment. As a direct and proximate result of the Train Derailment, Plaintiff Scott



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Snyder’s property was exposed to the dangerous and hazardous chemicals and aftereffects, and

now faces economic loss as a result of the Train Derailment.

         7.     Plaintiff Nathen Velez is a citizen and resident of East Palestine, Ohio with an

address of 327 E. North Ave. East Palestine, OH 44413. Plaintiff Velez lives within 1 mile of the

Train Derailment. As a direct and proximate result of the Train Derailment, Plaintiff Nathen

Velez’s property was exposed to the dangerous and hazardous chemicals and aftereffects, and now

faces economic loss as a result of the Train Derailment.

         8.     Defendant Norfolk Southern Railway Company is a Virginia corporation with its

principal place of business in Norfolk, Virginia.

         9.     Norfolk Southern Railway Company is a wholly owned subsidiary of Defendant

Norfolk Southern Corporation.

         10.    Norfolk Southern Corporation is a Virginia corporation with its principal place of

business in Atlanta, Georgia.

                                        FACTUAL ALLEGATIONS

         11.    Between 1990 and 2021, there were a total of 54,570 derailments, for an average

of 1,705 derailments a year.

         12.    Norfolk Southern Corporation’s subsidiary Norfolk Southern Railway Company

operates approximately 19,300 route miles in twenty-two states and the District of Columbia, and

serves every major container port in the eastern United States. 1

         13.    From 2019 through 2022, Norfolk Southern had 67 derailments in Ohio, which



1
 Norfolk Southern, About NS, Corporate Profile, http://www.nscorp.com/content/nscorp/en/about-ns/corporate-
profile.html (last visited Feb. 20, 2023).

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exceeds the amount of derailments in Ohio by every other railroad company.

         14.    Norfolk Southern also exceeded other railroad companies in Pennsylvania with 74

derailments during that time span.

         15.    In 2019, Norfolk Southern launched an “ambitious three-year strategic plan”

referred to in the railroad industry as “precision scheduled railroading (PSR).” 2

         16.    Over a year ago, Norfolk Southern continued to implement its PSR by setting

“goals that include creating longer trains, continuing productivity initiatives and finding growth

opportunities.” 3

         17.    The PSR raises safety concerns because jobs are eliminated and trains are longer.

According to VICE, PSR has been good for shareholders; Norfolk Southern reported record profits

from operations in 2022 at $4.8 billion. In March 2022, it announced a $10 billion stock buyback

program. 4

         18.    Norfolk Southern was aware that there were different, safer braking mechanisms

available for their trains including, Electronically Controlled Pneumatic (ECP). ECP brakes have

the potential to reduce train stopping distances by up to sixty percent. However, Norfolk Southern

prioritized profits over safety by utilizing outdated airbrakes instead of ECP brakes.

         19.    From January 2022 through early May 2022, the Federal Railroad Administration

performed an audit of Norfolk Southern. The findings of this audit included: undercounting and

inadequately observing rules failures and a failure to be able to verify the number of operational



2
  Freight Waves, Norfolk Southern laying groundwork for longer trains, balanced network,
https://www.freightwaves.com/news/norfolk-southern-laying-groundwork-for-longer-trains-balanced-network
(Jan. 26, 2022) (last visited Feb. 20, 2023).
3
  Id.
4
  Supra n. 8.

                                                    4
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tests performed. 5

         20.    This audit also found that Norfolk Southern management and employees alike

generally lacked awareness of the company’s Critical Incident Stress Plan. 6

         21.    Signalmen install, repair and maintain signal systems which railroads utilize to

direct trains from stop to stop safely and on time.

         22.    Around East Palestine, Norfolk Southern currently employs no signalmen who

specialize in the maintenance of devices like hot-box detectors.

         23.    Cutting of signalmen has led to hot-box detectors receiving less preventative

maintenance, according to an official from the Brotherhood of Railroad Signalmen union.

         24.    On or about February 3, 2023, Train 32N a 150-car Norfolk Southern freight train,

spanning over a mile and a half, was traveling through Ohio while making its journey from

Madison County, Illinois to Conway, Pennsylvania.

         25.    Video of Train 32 taken in Salem, Ohio about twenty miles outside of East Palestine

shows sparks and/or flames emanating from the train.




5
  U.S. Dept. of Transportation, FRA Audit Report of Norfolk Southern Railway Company, FRA Audit Number: 2022-
NS Special Audit-01-1, at 7, 9-10, available at https://railroads.dot.gov/sites/fra.dot.gov/files/2022-
11/Final%20Norfolk%20Southern%20Audit%20Report%202022%20%28003%29.pdf (July 8, 2022) (last visited Feb.
20, 2023).
6
  Id. at 12.

                                                      5
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             26.   Surveillance video from a residence showed what appears to be a wheel bearing in

the final stage of overheating moments before the failure. 7

             27.   At approximately 8:55 P.M., Train 32N derailed in or around the vicinity of East

Palestine, Ohio.

             28.   At approximately 11:00 P.M. the area within a mile radius of the derailment was

ordered to evacuate.

             29.   On February 6, 2023 the evacuation radius was increased to a roughly one-mile by

          two-mile area pursuant to evacuation orders issued by the State of Ohio and the

          Commonwealth of Pennsylvania.




7
    Id.

                                                   6
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         30.    National Transportation Safety Board (“NTSB”) investigators have identified and

examined the railcar that initiated the derailment. 8

         31.    Upon information and belief, the same wheel bearing that was recorded on video

20 miles outside of East Palestine led to the derailment of Train 32N.

         32.    The wheelset from the suspected railcar has been collected as evidence for

metallurgical examination. 9

         33.    The suspected overheated wheel bearing has been collected and will be examined



8
  National Transportation Safety Board, News Releases, NTSB Issues Investigative Update on Ohio Train
Derailment, available at https://www.ntsb.gov/news/press-releases/Pages/NR20230214.aspx (Feb. 14, 2023) (last
visited Feb. 20, 2023).
9
  Id.

                                                      7
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by engineers from the NTSB Materials Laboratory in Washington, D.C. 10

             34.   Train 32N was a 150-car freight, constituting over a mile-and-a-half in length.

Approximately fifty of the railcars were derailed or damaged. Eleven of the fifty cars involved in

the derailment contained hazardous materials, including:



           Rail Car #                   Hazardous Materials           Amount

           TILX 402025                  Vinyl Chloride                178,300 pounds

           OCPX 80235                   Vinyl Chloride                177,250 pounds

           OCPX 80179                   Vinyl Chloride                177,600 pounds

           GATX 95098                   Vinyl Chloride                178,150 pounds

           OCPX 80370                   Vinyl Chloride                176,100 pounds

           SHPX 211226                  Ethylene Glycol Monobutyl     185,750 pounds
                                        Ether

           DOWX 73168                   Ethylhexyl Acrylate           205,900 pounds

           UTLX 205907                  Butyl Acrylate                180,000 pounds

           NATX 35844                   Isobutylene                   155,642 pounds

           DPRX 259013                  Benzene                       Residue

           DPRX 258671                  Benzene                       Residue



             35.   Train 32N was carrying over a million pounds of these chemicals.



10
     Id.

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         36.    Vinyl Chloride is a powerful cancer-causing gas. Public health bodies such as

International Agency for Research on Cancer (IARC), U.S. Environmental Protection Agency

(EPA) and National Toxicology Program (NTP) unanimously characterize vinyl chloride as a

known human carcinogen. Vinyl chloride causes numerous forms of cancer, including rare forms

of liver cancer.

         37.       Vinyl Chloride has no safe level of exposure. A person exposed to Vinyl Chloride

is at increased risk for cancer, specifically cancer of the liver.

         38.    The wreckage of 32N continued to blaze for days. Vinyl Chloride is a highly

volatile chemical. Continued exposure to heat and pressure can cause Vinyl Chloride to explode.




         39.    The railcars containing hazardous chemicals were equipped with emergency valves

to vent the contents and relieve pressure.

         40.    On February 5, 2023, at least one of the release valves in a railcar containing Vinyl

Chloride failed, further increasing pressure.

         41.    On February 6, 2023, Norfolk Southern vented and burned over 1 million pounds


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of Vinyl Chloride to avoid an explosion.

        42.   The resultant smoke cloud carried up and away for miles.




        43.   The area immediately south of the Site is a mixed-use commercial, industrial, and

    residential area. The area north of the Site is a commercial and industrial area, with additional

    residences to the northeast. The nearest residences are less than 1,000 feet from the derailment

    Site.

        44.   The East Palestine Train Derailment Site is located within a mixed-use residential,

    commercial, and industrial area, with residential properties northwest, southeast, and south of

    the derailment area. Residential properties are also located along contaminated waterways

    which became contaminated after the derailment and are within the affected area. The Ohio


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Pennsylvania border is located less than a mile from the derailment location.

   45.     The nearest public well supply is located approximately one (1) mile from the

derailment location. A ditch, located on the south side of the tracks, flows west for

approximately 1,000 feet before it empties into Sulphur Run. Sulphur Run runs into Leslie

Run, Bull Creek, North Fork Little Beaver Creek, and Little Beaver Creek before ultimately

emptying into the Ohio River. Wetlands and State Line Lake are located immediately adjacent

to the Northeast of the Site. Segments of the affected waterways are considered to be habitat

for the Eastern Hellbender, an endangered species of salamander.

         46.      Releases to surface water occurred when liquid product exited railcars and

when run-off from firefighting efforts at the derailment location flowed through a ditch to

Sulphur Run and ultimately the Ohio River.

         47.      Releases to soil occurred (1) when liquid product exited rail cars after the

derailment (2) when run-off from firefighting efforts at the derailment location flowed from

the right-of-way to adjoining property, and (3) when ash from the burns landed on soil. Local

citizens observed smoke from the burns over the State of Ohio and the Commonwealth of

Pennsylvania.

   48.     The following are the hazardous materials involved in the derailment, substances

detected in air, water, soil, and sediment samples, or combustion by-products of some of those

chemicals at the Site, and the health/environmental effects associated with each:

      a. Vinyl Chloride: Breathing high levels of vinyl chloride can cause dizziness or

           sleepiness. Breathing very high levels can cause fainting and breathing difficulty,

           and even higher levels can cause death. Studies show that chronic inhalation of

           vinyl chloride causes changes in the structure of the liver, and individuals who



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       breath high levels are more likely to experience these changes. Highly exposed

       workers have also developed liver cancer (angiosarcoma of the liver). The effects

       of ingesting high levels of vinyl chloride are unknown. Dermal exposure may cause

       numbness, redness, and blisters. Animal studies have shown that exposure to vinyl

       chloride during pregnancy can affect the growth and development of the fetus.

       Vinyl chloride is a known human carcinogen according to the Department of Health

       and Human Services (DHHS), the International Agency for Research or Cancer

       (IARC), and the EPA.

    b. Ethylene Glycol Monobutyl Ether: Routes of exposure include ingestion and

       dermal contact. Inhaling Ethylene glycol monobutyl ether can irritate the nose and

       throat. It can also cause nausea, vomiting, diarrhea, and abdominal pain. Exposure

       can cause headache, dizziness, lightheadedness, and passing out. It may damage the

       liver and kidneys.

    c. Isobutylene: Acute exposure to isobutylene is associated with the following health

       effects: irritation of eyes, nose, and throat, frostbite (from dermal contact),

       headache, dizziness, lightheadedness, and fatigue. Higher levels of isobutylene can

       cause coma and death. Chronic health hazards include cancer, reproductive harm,

       and other long term health effects.

    d. Benzene: Breathing very high levels of benzene can result in death, while high

       levels can cause drowsiness, dizziness, rapid heart rate, headaches, tremors,

       confusion, and unconsciousness. Exposure through ingestion can cause vomiting,

       irritation of the stomach, dizziness, sleepiness, convulsions, rapid heart rate, and

       death. The major effect of benzene from chronic exposure is on the blood. Benzene



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       causes harmful effects on the bone marrow and can cause a decrease in red blood

       cells leading to anemia. It can also cause excessive bleeding and can affect the

       immune system, increasing the chance of infection. Benzene may affect

       menstruation and decrease the size of ovaries in women following many months of

       exposure to high levels. Benzene is a known human carcinogen according to the

       Department of Health and Human Services, the International Agency for Research

       or Cancer (IARC), and the EPA.

    e. Butyl Acrylate: Butyl acrylate can cause health effects due to inhalation and

       through dermal contact. Contact with butyl acrylate can irritate the nose, throat, and

       lungs. Butyl acrylate may cause a skin allergy. Exposure to butyl acrylate can cause

       headache, dizziness, nausea, and vomiting. Repeated exposure can lead to

       permanent lung damage.

    f. Phosgene: Exposure to phosgene in the air can cause eye and throat irritation. High

       amounts in the air can cause severe lung damage. Exposure can occur through

       inhalation, dermal contact, or (less likely) ingestion. Higher levels of phosgene can

       cause lungs to swell, making it difficult to breathe. Even higher levels can result in

       severe lung damage that might lead to death. Dermal contact with phosgene can

       result in chemical burns or may cause frostbite.

    g. Hydrogen Chloride: Hydrogen chloride is irritating and corrosive to any tissue it

       contacts. Brief exposure to low levels causes throat irritation. Exposure to higher

       levels can result in rapid breathing, narrowing of the bronchioles, blue coloring of

       the skin, accumulation of fluid in the lungs, and even death. Exposure to even

       higher levels can cause swelling and spasm of the throat and suffocation. Some



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              people may develop an inflammatory reaction to hydrogen chloride. This condition

              is called reactive airways dysfunction syndrome (RADS), a type of asthma caused

              by some irritating or corrosive substances. Depending on the concentration,

              hydrogen chloride can produce conditions from mild irritation to severe burns of

              the eyes and skin. Long-term exposure to low levels can cause respiratory

              problems, eye and skin irritation, and discoloration of the teeth. Swallowing

              concentrated hydrochloric acid will cause severe corrosive injury to the lips, mouth,

              throat, esophagus, and stomach.

        49.   Acrylate odors were noted by responders during indoor air monitoring.

        50.   Acrylate odors along Sulphur Run, Leslie Run, Bull Creek, North Fork Little

    Beaver Creek, and Little Beaver Creek were noted by responders during sampling and

    containment activities.

        51.   The estimated number of aquatic animals killed is approximately 3,500. Those

    aquatic animals were found in Sulphur Run, Leslie Run, Bull Creek, and a portion of the North

    Fork of Beaver Creek. Most of the fish appear to be small suckers, minnows, darters, and

    sculpin. Most of these deaths are believed to have been caused by the immediate release of

    contaminants into the water.

        52.   Draining the railcars of Vinyl Chloride exposed the soil to this dangerous chemical.

Vinyl Chloride is persistent in the environment and can therefore leach into groundwater.

        53.   Releasing this amount of Vinyl Chloride into the environment is reckless.

        54.   The decision by Norfolk Southern to vent and burn the Vinyl Chloride resulted in

a creation of Vinyl Chloride byproducts, including Hydrogen Chloride and Phosgene.

        55.   Both Hydrogen Chloride and Phosgene are incredibly dangerous and toxic to



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human health. When Hydrogen Chloride combines with moisture it creates Hydrochloric Acid.

The symptoms of Hydrochloric Acid exposure include eye, skin, and lung irritation. In extreme

cases, exposure can be fatal.

            56.   Norfolk Southern knew, or should have known, draining and burning Vinyl

Chloride would expose the surrounding area to extremely toxic chemicals via the air, soil, and

water.

            57.   The evacuation order was lifted on February 8, 2023.

            58.   Two days later the EPA sent a “General Notice of Potential Liability” letter to

Norfolk Southern. In response to this Norfolk Southern provided the EPA with a manifest of the

cars involved in the derailment.

            59.   Upon information and belief, Norfolk Southern and its subcontractors have failed

to remediate the site of the chemical spill, opting to cover the area in gravel rather than removal

the soil.

             60. According to a VICE article entitled “‘32 Nasty:’ Rail Workers Say They Knew

     the Train That Derailed in East Palestine Was Dangerous,” “two workers … said 32N in

     particular was a known safety risk.” 11

            61.   These two workers told VICE that “multiple red flags, including two mechanical

problems, about 32N went undetected or were ignored in the hours leading up to the crash.”12

According to the article, 32N has a nickname among some rail workers “for a reason.” 13 They call

this one “32 Nasty.” 14


11
   Vice, ’32 Nasty:’ Rail Workers Say They Knew the Train That Derailed in East Palestine Was Dangerous, available
at https://www.vice.com/en/article/88qze4/32-nasty-rail-workers-say-they-knew-the-train-that-derailed-in-east-
palestine-was-dangerous (Feb. 15, 2023) (last visited Feb. 20, 2023).
12
   Id.
13
   Id.
14
   Id.

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                             CLASS ACTION ALLEGATIONS

   62.     Representative Plaintiffs bring this action on behalf of themselves and all others

similarly situated. Representative Plaintiffs seek class certification defined as follows:

   a.      Property Damage Subclass: All individuals and/or legal entities who on or about

February 3, 2023 owned property in East Palestine, Ohio, and/or surrounding areas whose

properties were contaminated by the derailment and subsequent chemical burn. This area could

extend up to a 25-mile radius from the site of the derailment.

   b.      Economic Loss Subclass: All individuals and/or legal entities who on or about

February 3, 2023 resided in East Palestine, Ohio, and/or surrounding areas who lived in the

evacuation zone, were forced to flee their property and had costs associated with this

evacuation as a direct and proximate cause of Norfolk Southern’s conduct. This class includes

all individuals and/or legal entities who have lost work, productivity, revenue and/or economic

opportunity due as a direct and proximate cause of Norfolk Southern’s conduct. This area could

extend up to a 25-mile radius from the site of the derailment.

   63.     Plaintiffs hereby reserve the right to amend or modify the class definition with

greater specificity or subclassing following an opportunity to conduct discovery.

   64.     Fed. R. Civ. P. 23(a)(1): The members of this Class are so numerous that joinder

of all members is impractical. The exact number and identification of Class Members is

presently unknown to Representative Plaintiffs. However, upon information and belief the

Proposed Class will include thousands of residents of East Palestine, Ohio that have suffered,

and continue to suffer injuries and damage caused by Norfolk Southern’s actions.

   65.     Fed. R. Civ. P. 23(a)(2): Common questions of law or fact exist to the Proposed

Class and predominate over any questions affecting individual Class Members. These common



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questions of law and fact include, but are not limited to:

   a.       Whether Norfolk Southern operated their railroad enterprise negligently,

recklessly, intentionally or otherwise tortiously;

   b.       Whether Norfolk Southern owed a duty of care to Plaintiff and the Class;

   c.       Whether Norfolk Southern breached this duty.

   d.       Whether the duty of care owed to the Class included the duty to protect Plaintiff

and the Class against unreasonable harm to their property through the emission of unsafe and

unnecessarily high levels of toxic chemicals;

   e.       Whether Norfolk Southern breached its duty to the Plaintiff and the Class by

releasing chemicals originating from their chemical burn pit;

   f.       Whether Norfolk Southern breached their duty to properly remediate the site of the

derailment;

   g.       Whether the property values of the members of the Class have been negatively

impacted;

   h.       Whether the Class Members have suffered loss of use and enjoyment of their

property; and

   i.       Whether Plaintiff and the Class are entitled to relief and the nature of that relief.

   66.      Fed. R. Civ. P. 23(a)(3): The claims or defenses of the Representative Plaintiffs

are typical of the claims or defenses of the Proposed Class.

   c.         Representative Plaintiffs and the Proposed Class bring claims grounded in the

same legal theories and involve the same or similar allegations.

   d.       Representative Plaintiffs and the Proposed Class have suffered similar injuries as a

direct and proximate cause of Norfolk Southern’s actions.



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   e.      Representative Plaintiffs and the Proposed Class reside in East Palestine or in a 25-

mile vicinity of the train derailment.

   67.     Fed. R. Civ. P. 23(a)(4): Representative Plaintiffs will fairly and adequately

represent and protect the interests of the members of the Class. The Representative Plaintiffs’

interests are aligned with the Proposed Class. Representative Plaintiffs have retained counsel

who is nationally recognized in their competency and experience in complex class actions.

   68.     Fed. R. Civ. P. 23(b)(3): Class action in this matter is superior to other available

methods for fairly and efficiently adjudicate the controversy. Adjudication of this matter

through Class Action ensures a just, speedy, and inexpensive determination. If individual Class

members were instead to litigate the harms caused by Norfolk Southern, in addition to the

undue exertion that would burden the Court system, the expense of litigating each case

separately would be magnified well beyond the expense to litigate this case as a Class.

                                COUNT I: NEGLIENCE

   69.     Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

   70.     At all relevant times, Norfolk Southern had a duty to exercise reasonable care to

protect Representative Plaintiffs and Class Members from unreasonable harm caused by and

through the operation of its railway and railcars.

   71.     At all relevant times, Norfolk Southern had a duty to the Representative Plaintiffs

and Class Members to exercise reasonable and ordinary care in the operation, inspection,

maintenance, and repair of its railway.

   72.     At all relevant times, Norfolk Southern had a duty to the Representative Plaintiffs

and Class Members to exercise reasonable and ordinary care in the operation, inspection,



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maintenance, and repair of its railcars.

    73.     At all relevant times, Norfolk Southern had a duty to exercise reasonable and

ordinary care in the transportation of toxic chemicals on their railways in its railcars.

    74.     At all relevant times, Norfolk Southern had a duty to exercise reasonable and

ordinary care in providing adequate instruction(s) and training to its employees.

    75.     Norfolk Southern knew, or in the exercise of reasonable care should have known,

that the operation of its railway and railcars was of such a nature that it was unreasonably

dangerous to operate the railway and the railcars in the condition they were in.

    76.     Norfolk Southern’s duty is heightened because its railway and railcars were

transporting toxic chemicals that included contaminants and carcinogens that are known to

have deadly effects following exposure in any amount. Of the fifty (50) cars involved in the

derailment, eleven (11) contained hazardous materials. These materials included:

    f.      Vinyl Chloride in cars 28-31, 55;

    g.      Ethylene Glycol Monobutyl in car 36;

    h.      Ethylhexyl Acrylate in car 38;

    i.      Isobutylene in car 49;

    j.      Butyl Acrylates in car 50; and

    k.      Benzene in cars 59 and 60.

    77.     Norfolk Southern breached its duty to Representative Plaintiffs and Class Members

in failing to operate, inspect, maintain, and repair its railway.

    78.     Norfolk Southern breached its duty to Representative Plaintiffs and Class Members

in failing to operate, inspect, maintain, and repair its railcars.

    79.     Norfolk Southern breached its duty to Representative Plaintiffs and Class Members


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in failing to exercise reasonable and ordinary care in the transportation of toxic chemicals on

its railways and in its railcars by permitting this transport to occur on an unreasonably

dangerous railway with defective or poorly maintained railcars.

   80.      Norfolk Southern breached its duty to Representative Plaintiffs and Class Members

in failing to exercise reasonable and ordinary care in providing adequate instruction(s) and

training to its employees.

   81.      As a direct and proximate cause of Norfolk Southern’s conduct, Representative

Plaintiffs and Class Members have suffered, and continue to suffer injuries including but not

limited to compensatory damages to Representative Plaintiffs for past, present, and future

damages, including but not limited to, lost wages, or income, property damage and diminution

of value in property and loss of earning capacity.

                                 COUNT II: TRESPASS

   82.      Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

   83.      Norfolk Southern negligently caused or permitted ultrahazardous fumes, chemicals,

carcinogens, and other toxic substances to be released into the atmosphere on or in the vicinity

of the properties of Representative Plaintiffs and each Class Member.

   84.      This emission of ultrahazardous fumes, chemicals, carcinogens and other toxic

substances into the atmosphere on or in the vicinity of the properties of Representative

Plaintiffs and each Class Member was an unlawful intrusion or invasion upon each respective

property.

   85.      Representative Plaintiffs and Class Members did not authorize such intrusion or

invasion of their respective properties.



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   86.     As a direct and proximate cause of Norfolk Southern’s trespass, Representative

Plaintiffs and Class Members have been injured and sustained damages.

                             COUNT III: STRICT LIABILITY

   87.     Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

   88.     Norfolk Southern engaged in an ultrahazardous activity.

   89.     The transportation of highly toxic and combustible carcinogens is abnormally

dangerous and cannot be made safe by the exercise of the utmost care. Furthermore, the

ignition of a chemical burn pit is abnormally dangerous and cannot be made safe by the

exercise of the utmost care. The ignition of a chemical burn pit resulted, and continues to result,

in emissions highly toxic substances to surrounding communities, which pose a high degree of

risk to Plaintiff and Class Members.

   90.     The activities conducted by Norfolk Southern are exceedingly dangerous and offer

little or no value to the surrounding community.

   91.     As a result of Norfolk Southern’s ultrahazardous activity, Norfolk Southern is

strictly liable for any damages resulting therein.

   92.     As a direct and proximate cause of Norfolk Southern's ultrahazardous activity,

Representative Plaintiffs and Class Members have suffered, and continue to suffer, injury and

damage.

         COUNT IV: ABSOLUTE AND QUALIFIED PRIVATE NUISANCE

   93.     Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

   94.     Norfolk Southern created and maintained a private nuisance by causing the



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emission of ultrahazardous fumes, chemicals, carcinogens and other toxic substances into the

atmosphere on or in the vicinity of the properties of Representative Plaintiffs and each Class

Member.

   95.     This emission constitutes an unreasonable and substantial interference in the use

and enjoyment of each of the Representative Plaintiffs’ and Class Members’ property.

   96.     This constitutes an absolute nuisance because Norfolk Southern was engaged in

abnormally dangerous conduct, as described herein.

   97.     This also constitutes a qualified nuisance because Norfolk Southern was engaged

in negligent or reckless conduct, as described herein.

   98.     The nuisance caused and continues to cause significant harm to the Representative

Plaintiffs and the Class Members, including diminution in value of property and out-of-pocket

expenses associated with the evacuation.

   99.     This unreasonable and substantial interference is significant as the hazardous

fumes, chemicals, carcinogens and other toxic substances that have encroached on

Representative Plaintiffs’ and Class Members’ property are known to cause serious disease

and/or cancer if exposed.

   100.    This unreasonable and substantial interference is significant as the hazardous

fumes, chemicals, carcinogens and other toxic substances that have encroached on

Representative Plaintiffs’ and Class Members’ property are known to drive property values

down.

   101.    The properties of Representative Plaintiffs and Class Members have been exposed

to these ultrahazardous fumes, chemicals, carcinogens and other toxic substances as a direct

and proximate result of Norfolk Southern’s actions.



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   102.     The property values of Representative Plaintiffs and Class Members have been

negatively impacted as the direct and proximate result of Norfolk Southern's actions.

   103.     The nuisance created by Norfolk Southern’s conduct is abatable.

   104.     The Representative Plaintiffs and Class Members request abatement of this

nuisance.

   105.     In the alternative, if the nuisance cannot be abated Representative Plaintiffs and

Class Members request damages.

            COUNT V: ABSOLUTE AND QUALIFIED PUBLIC NUISANCE

   106.     Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

   107.     Norfolk Southern created a public nuisance by allowing the emission of

ultrahazardous fumes, chemicals, carcinogens and other toxic substances into the atmosphere

on or in the vicinity of the properties of Representative Plaintiffs and each Class Member.

   108.     The emission constitutes an unreasonable and substantial interference with the

rights common to the general public, public water ways, drinking water, and the public health.

   109.     This constitutes an absolute nuisance because Norfolk Southern was engaged in

abnormally dangerous conduct, as described herein.

   110.     This also constitutes a qualified nuisance because Norfolk Southern was engaged

in negligent or reckless conduct, as described herein.

   111.     The nuisance caused and continues to cause significant harm to the Representative

Plaintiffs and the Class Members, including diminution in value of property and out-of-pocket

expenses associated with the evacuation.

   112.     This unreasonable and substantial interference is significant as the hazardous



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   fumes, chemicals, carcinogens and other toxic substances that have encroached on

   Representative Plaintiffs’ and Class Members’ property are known to cause serious diminution

   of property values.

        113.   The properties of Representative Plaintiffs and Class Members have been exposed

   to these ultrahazardous fumes, chemicals, carcinogens and other toxic substances as a direct

   and proximate cause of Norfolk Southern's actions.

        114.   The Representative Plaintiffs and Class Members have suffered particularized

   harm.

        115.   The property values of Representative Plaintiffs and Class Members have been

   negatively impacted as the direct and proximate result of Norfolk Southern's actions.

        116.   The nuisance created by Norfolk Southern's conduct is abatable.

        117.   The Representative Plaintiffs and Class Members request abatement of this

   nuisance.

        118.   In the alternative, if the nuisance cannot be abated Representative Plaintiffs and

   Class Members request damages.

                                COUNT VII: NEGLIGENCE PER SE

        119.   Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

        120.   Norfolk Southern had an obligation to comply with 49 CFR § 217 Railroad

Operating Rules.

        121.   Upon information and belief, Norfolk Southern failed to comply with 49 CFR §

217.

        122.   Norfolk Southern’s continued failure to comply with 49 CFR § 217 resulted in



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Train 32N’s derailment.

       123.    This failure to comply to 49 CFR § 217 constitutes negligence per se.

       124.    Norfolk Southern's actions were in violation of law and in a conscious disregard for

the rights and safety of others that had a great probability of causing substantial harm thereby

subjecting Norfolk Southern to liability for punitive damages.

              COUNT VIII: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

       125.    Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

       126.    At all times herein, Norfolk Southern’s negligent and/or outrageous conduct

constituted an unlawful interference with personal and property rights of the Representative

Plaintiffs and members of the Putative Class. As a direct and proximate result of Norfolk

Southern’s conduct, as alleged herein, Representative Plaintiffs and members of the Putative Class

have suffered severe emotional distress, the effect of which continues until the present and will

persist into the future, including, but not limited to, anxiety over damage to their property and

evacuation from their homes.

       127.    This serious emotional distress was a foreseeable injury to the Representative

Plaintiffs and members of the Putative Class.

       128.    In addition, Norfolk Southern’s actions were in violation of law and in a conscious

disregard for the rights and safety of others that had a great probability of causing substantial harm

thereby subjecting Norfolk Southern to liability for punitive damages

                                    COUNT IX: CERCLA CLAIMS

       129.    Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.



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        130.    Pursuant to Section 107(a)(4)(B) of CERCLA any person may sue to recover “any

other necessary costs of response” that person has incurred.

        131.    Norfolk Southern was transporting hazard substances as defined by Section 101(14)

of CERCLA, 42 U.S.C.A. § 9601.

        132.    As a result of the derailment Norfolk Southern is liable to Plaintiffs for any

necessary costs incurred by them under 107(a)(4)(B) of CERCLA.

                                   COUNT X: PUNITIVE DAMAGES

        133.    Representative Plaintiffs re-allege and incorporate by reference each and every

paragraph set forth in this Complaint as though fully set forth herein.

        134.    Norfolk Southern knew, or should have known, that its conduct was negligent and

with such conscious disregard for Representative Plaintiffs and Class Members.

        135.    Norfolk Southern acted with extreme reckless behavior and a conscious disregard

for the Representative Plaintiffs and Class Member in the operation, inspection, and maintenance

of its railway and railcars.

        136.    Norfolk Southern's egregious conduct caused significant injury and damages to

Representative Plaintiffs and Class Members.

        137.    Norfolk Southern's egregious conduct consists of such flagrant disregard as to

constitute malice.

                                       PRAYER FOR RELIEF

        WHEREFORE, Representative Plaintiffs respectfully request judgment in their favor

against Defendants, and each of them, individually, jointly and severally, and Plaintiff requests

compensatory damages, in a sum to confer jurisdiction upon this Court, together with interest on

that amount at the legal rate from the date of judgment until paid, costs of suit, attorneys’ fees, and



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all such other relief as this Court deems just and proper, as well as:

           l. Compensatory damages to Plaintiff for past, present, and future damages, including

               but not limited to, diminution of property values, mental anguish related to anxiety

               over property valuation by Representative Plaintiffs and Class Members, lost

               wages, or income, and loss of earning capacity, together with interest and costs as

               provided by law;

           m. Restitution and disgorgement of profits;

           n. Punitive damages;

           o. Reasonable attorneys’ fees;

           p. The costs of these proceedings;

           q. All ascertainable economic damages;

           r. Loss of use of their property;

           s. Loss of enjoyment of property;

           t. Contamination and loss of value to their property;

           u. Other damages that will be shown at trial following discovery and adjudication of

               this matter;

           v. Class Certification;

           w. Such other and further relief as this Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

       Representative Plaintiffs hereby demand a trial by jury on all issues so triable.



   Dated: February 22, 2023




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Plaintiffs,
By their Attorney:

/s/ Michael J. O’Shea
Michael J. O’Shea
Lipson O'Shea Legal Group
Hoyt Block Building - Suite 110
700 West St. Clair Avenue
Cleveland, Ohio 44113
(216) 241-0011 - office
(216) 470-8098 - cell
(440) 331-5401 - fax
michael@moshea.com
www.lipsonoshea.com


Vincent L. Greene (application for pro hac vice admission to be filed)
Jonathan D. Orent (application for pro hac vice admission to be filed)
Dennis A. Costigan (application for pro hac vice admission to be filed)
MOTLEY RICE LLC
40 Westminster St., 5th Fl,
Providence, RI 02903
401-457-7700
401-457-7708 Fax




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